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____________________________________________________________________________
                                                      SO ORDERED,




                                                      Judge Selene D. Maddox

                                                      United States Bankruptcy Judge

         The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF MISSISSIPPI

       IN RE: WILLIAM C. SPENCER                                Case No. 24-11447

            AGREED ORDER RESOLVING CREDITOR’S MOTION FOR
         ABANDONMENT AND RELIEF FROM AUTOMATIC STAY (DK#17)

       THIS DAY, there came before the Court the Creditor’s Motion to Abandon and Relief

from Automatic Stay (DK#17), and the Court having been advised that the parties have reached

an agreement, adjudicates as follows in accordance with that agreement:

                                                (1)

       That the Court has jurisdiction over the parties and the subject matter, herein.

                                                (2)

       On May 22, 2024, Debtor filed for relief under Chapter 13 of the United States

Bankruptcy Code.

                                                (3)

       That the Creditor holds a secured interest in the following property which secures this

debt, namely, real property, more particularly described as follows:

       Lot Number 7 of the North Parc Subdivision according to the Plat of said Subdivision as
       recorded in Plat Book A at Page 173 of the records of maps and plats on file in the office
       of the Chancery Clerk of Lee County, Mississippi.
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                                                (4)

       That the Creditor’s Motion to Abandon and Relief from the Automatic Stay is hereby

granted as to the aforementioned property.

       THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Frankie

Wallace’s Motion to Abandon and Relief from Automatic Stay is hereby granted. Further, that

the aforementioned described real property is hereby abandoned from the bankruptcy estate and

the Creditor shall be entitled to pursue any and all remedies available through state law to obtain

the subject collateral, including contacting the Debtor directly and commencing foreclosure.

                                      ##ENDOFORDER##



/s/ Bart M. Adams
Bart M. Adams
Attorney for Frankie Wallace

/s/ Kimberly Bowling
Attorney for Debtor

/s/ Jeffrey Tyree
Attorney for Chapter 13 Trustee

Submitted by:
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